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12
                                  UNITED STATES DISTRICT COURT
13
                                          DISTRICT OF NEVADA
14
15
      UNITED STATES OF AMERICA,                           12-CR-0063-PMP-RJJ
16
                             Plaintiff,
17                                                        STIPULATION AND ORDER TO
      vs.                                                 EXTEND DEADLINE FOR
18                                                        GOVERNMENT’S RESPONSE TO
      ROSS HACK,                                          DEFENDANT MELISSA HACK’S
19    MELISSA HACK, and                                   MOTION FOR REVOCATION OF
      LELAND JONES                                        DETENTION
20
                             Defendants.
21
22
23                  IT IS HEREBY STIPULATED AND AGREED by and between the Defendant,

24   MELISSA HACK, by and through her counsel, E. Brent Bryson, Esq. of the law offices of E. Brent

25   Bryson, Ltd., and the Plaintiff, the United States of America, by and through its attorneys, Patricia

26   A. Sumner and Nicholas Dickinson, that the deadline for the government’s response to defendant

27   Melissa Hack’s Motion for Revocation of Detention currently scheduled for December 31, 2012,

28   be vacated and extended to January 9, 2013, a date mutually agreeable to the parties, in order to

                                                      1
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 1   allow the government sufficient time to prepare a response.
 2                 This is the government’s first request for an extension of time to respond to the
 3   Defendant’s motion.
 4   DATED this 21st day of December 2012.
 5
 6                                                       Respectfully submitted,
 7
 8                                                       DANIEL G. BOGDEN
                                                         United States Attorney
 9
                                                         ______\s\_____________________
10                                                       NICHOLAS DICKINSON
                                                         Assistant United States Attorney
11
12                                                       ______\s\_____________________
                                                         PATRICIA A. SUMNER
13                                                       Trial Attorney
                                                         U.S. Department of Justice
14                                                       Civil Rights Division
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17                                                       ______\s\___________________
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                                                         Attorney for Defendant
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 1
 2
                                    UNITED STATES DISTRICT COURT
 3
                                          DISTRICT OF NEVADA
 4
 5
      UNITED STATES OF AMERICA,
 6
                      Plaintiff,
 7
      vs.
 8                                                         12-CR-0063-PMP-RJJ
      ROSS HACK,
 9    MELISSA HACK, and
      LELAND JONES
10
                      Defendants.
11
                   FINDINGS OF FACT, CONCLUSIONS OF LAW, AND ORDER
12
13          Based upon the pending stipulation of counsel and good cause appearing therefore, the

14   Court finds that:

15          1. The Defendant, Melissa Hack, does not object to the government’s request for an

16   extension of time to file its responses to the Defendant’s Motion for Revocation of Detention.

17          2. That it is in the interests of justice to allow counsel for the government sufficient time

18   to adequately prepare a response to the Defendant’s motion, and that a miscarriage of justice

19   may occur if the deadline is not extended, taking into account the exercise of due diligence.

20          3. The additional time requested by this stipulation is excludable in computing the time

21   within which the trial herein must commence pursuant to the Speedy Trial Act, Title 18, United

22   States Code, Section 3161(h)(7)(A), when considering the factors under Title 18, United States

23   Code Sections 3161(h)(7)(B)(i) and 3161(h)(7)(B)(iv).

24          4. This is the first request for an extension of the deadline for the government’s response

25   to the Defendant’s motion.

26
27                                       CONCLUSIONS OF LAW

28   Based upon the foregoing findings of fact, the Court makes the following conclusions of law.

                                                       3
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 1          1. The ends of justice served by granting said extension outweigh the best interest of the
 2   public and the Defendant in a speedy trial, since the failure to grant said extension would be
 3   likely to result in a miscarriage of justice, would deny the parties herein sufficient time and the
 4   opportunity with which to be able to effectively and thoroughly respond to the Defendant’s
 5   motion, taking into account the exercise of due diligence.
 6          2. The extension sought herein is excludable under the Speedy Trial Act, Title 18,
 7   United States Code Section 3161(h)(7)(A), when considering the factors under Title 18, United
 8   States Code Sections 3161(h)(7)(B)(i), 3161(h)(B)(7)(ii), and 3161(h)(7)(B)(iv).
 9
10                                                 ORDER
11          Based upon the Stipulation of the parties, and good cause appearing therefore;
12          IT IS HEREBY ORDERED that the government’s response to the Defendant’s Motion
13   for Revocation of Detention must be submitted to the Court by January 9, 2013.
14          IT IS FURTHER HEREBY ORDERED that the Defendant’s reply to the government’s
15   response to the Defendant’s motion must be submitted to the Court by January 16, 2013.
16   DATED this ___ day
                 26th   of of
                      day  December, 20122012.
                              December,
17
18   _______________________________
     Senior United States District Judge
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